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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                               CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                        JOINT MOTION TO FILE
       REDACTED AND UNREDACTED GLOBAL ISSUES BRIEFS UNDER SEAL

         The United States of America and Plaintiff Donald J. Trump jointly move this Court

  to file under seal their briefs to the Special Master concerning certain “global issues” identified

  in the course of the Special Master’s review process. See Docket Entry (“D.E.”) 161-1, 162.

         Each party will file two versions of its respective memoranda under seal (for a total of

  four documents). The first version will consist of the party’s full, unredacted response to the

  five issues identified in D.E. 161-1. The second version will be the same document but with

  the party’s proposed redactions of selected paragraphs.

         The reason for those redactions is that each party’s pleadings will discuss certain

  Seized Materials or certain categories of Seized Materials. Under the Protective Order issued

  by the Special Master, the parties understand that those parts of their pleadings should not be

  disclosed publicly. See D.E. 113 ¶ 3 (“Nothing herein shall prevent a party from using Seized

  Materials as exhibits to pleadings or otherwise, or from referring to, quoting, or reciting from
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  Seized Materials in connection with pleadings or motions filed in the above-captioned case;

  provided, however, that any such Seized Materials be filed under seal or submitted to the Special

  Master or Court for in camera inspection.”).

         After the parties have exchanged their respective proposed redacted filings, the parties

  will move the Court separately to unseal the redacted versions of their memoranda. If and

  when the Court grants those forthcoming motions to unseal, the redacted versions of the

  memoranda can be filed publicly on the docket. Until that motions practice is complete,

  neither party will file its “global issues” briefs on the public docket in any form.

         Counsel for Plaintiff Donald J. Trump and counsel for the United States have

  conferred and have agreed on this procedure, which safeguards the interests in keeping the

  contents of the Seized Materials confidential at this time and satisfies the dictates of the

  Special Master’s Protective Order, D.E. 113. Both parties, once they have had an opportunity

  to review each other’s filings and proposed redactions, will promptly move to unseal a

  redacted version of their pleadings.

         WHEREFORE, the United States and Plaintiff Donald J. Trump respectfully request

  permission to file later today their “global issues” briefs to the Special Master under seal,

  along with duplicate versions of those briefs that contain the parties’ proposed redactions (and

  which the parties intend to move to unseal at the appropriate time).
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                                           Respectfully submitted,

                                                  On behalf of the United States

                                                  /s Juan Antonio Gonzalez
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                                                  UNITED STATES ATTORNEY
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                                                  On behalf of the Plaintiff, Donald J. Trump:

                                                  /s James M. Trusty
                                                  JAMES M. TRUSTY
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                                                  Chris Kise & Associates, P.A.
                                                  LINDSEY HALLIGAN
                                                  M. EVAN CORCORAN
                                                  Silverman, Thompson, Slutkin, White, LLC



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 8, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           s/ Juan Antonio Gonzalez
                                           Juan Antonio Gonzalez
                                           United States Attorney
